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                                   COURTROOM MINUTE SHEET

                                                               DATE           2-1-18


CIVIL NO.          CIV-15-1230        -F

                   Reinaldo Lozano -vs- Golden Rule Insurance Company


COMMENCED          1:30           ENDED    3:55            TOTAL TIME      2 hrs. 25 min.

PROCEEDINGS                   Daubert hearing


JUDGE STEPHEN P. FRIOT                DEPUTY LORI GRAY          REPORTER TRACY WASHBOURNE

PLF COUNSEL Simone Fulmer, Andrea Rust

DFT COUNSEL Lance Clack


The court gives counsel the benefit of some preliminary thoughts with regard
to expert reports and the pending Daubert motions.

The court hears arguments of counsel.

Defendant’s Motion to Exclude Expert Testimony of Mort Welch (doc. no. 107)
is DENIED, for the reasons set out in detail on the record.

Plaintiff’s Motion to Exclude Testimony of Gary Chartier (doc. no. 109) is
GRANTED, for the reasons set out in detail on the record.

Plaintiff’s Motion to Exclude Expert Testimony of Dr. Randall Hendricks (doc.
no. 110) is CONDITIONALLY DENIED, as set out in detail on the record.




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